      Case 2:03-cr-00257-CJB          Document 1505          Filed 02/24/12    Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                              CRIMINAL ACTION

VERSUS                                                                NO. 03-257

MICHAEL HARRIS                                                        SECTION: “K”(1)


                                    ORDER AND OPINION


       Before the Court is the “Motion for Retroactive Application of the Fair Sentencing Act” filed

by defendant Michael Harris, pro se (Doc. 1466). Having reviewed the pleadings and the relevant

law, the Court, for the reasons assigned, DENIES the motion.

       On August 12, 2004, defendant Michael Harris pleaded guilty to two counts of a third

superseding indictment pursuant to a Rule 11(c)(1)(C) plea agreement. Specifically, Mr. Harris

pleaded guilty to conspiracy to possess with intent to distribute 50 grams or more of cocaine base

in violation of 21 U.S.C. 841(a)(1), 841(b)(1)(A) and§846 (Count 1) and use of a communication

facility in a drug trafficking offense in violation of 21 U.S.C. §843(b) (Count 4). Based on

defendant’s admission that at least 50 grams of cocaine base was involved in his conviction for

conspiracy to possess with intent to distribute cocaine base, §841(b)(1)(A), as written at the time

defendant committed the offense, provided for a mandatory minimum term of imprisonment of 120

months and a maximum term of life imprisonment. The Rule 11(c)(1)(C) plea agreement provided

for a sentence of 120 months as to Count 1 and 4.

       After defendant pleaded guilty, Congress passed, and the President signed, the Fair

Sentencing Act of 2010, Pub. L. 111-220, 124 Stat 2372 (2010) (herein after “FSA”).1 The FSA


       1
           The President signed the FSA on August 3, 2010.
       Case 2:03-cr-00257-CJB           Document 1505          Filed 02/24/12       Page 2 of 2




raised the threshold amount of cocaine base necessary to trigger a ten (10) year mandatory minimum

term of imprisonment to 280 grams of a mixture containing cocaine base.

        Mr. Harris asserts that the FSA applies retroactively to his case. The Fifth Circuit Court of

Appeals has concluded unequivocally that “the penalties prescribed by te FSA do not apply to

federal criminal sentencing for illegal conduct that preceded the FSA’s enactment.” United States

v. Tickles, 661 F.3d 212, 215 (5th Cir. 2011). Therefore, defendant is not entitled to the relief sought.

Accordingly, the motion is DENIED.

        New Orleans, Louisiana, this 24th day of February, 2012.




                                                           STANWOOD R. DUVAL, JR.
                                                         UNITED STATES DISTRICT JUDGE
